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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §           Criminal Action No.
vs.                                               §           3:12-CR-392-O(02)
                                                  §
JOHNNY ANGEL GAMEZ                                §

                 FINDINGS, CONCLUSIONS, AND RECOMMENDATION

       Pursuant to the Order Referring Motion dated January 16, 2013, before the Court is Pro Se

Owner in Interest’s Motion to Recover Seized Property, filed January 15, 2013 (doc. 117). Based

on the relevant filings and applicable law, the motion should be DENIED.

                                       I. BACKGROUND

       Johnny Angel Gamez (Defendant) was charged by criminal complaint dated November 6,

2012, with conspiracy to possess with intent to distribute and to distribute 500 grams or more of

methamphetamine. (See doc. 1.) The complaint alleged that Defendant used a black Dodge Charger

(Vehicle) to provide security and counter-surveillance for co-conspirators during undercover drug

transactions, including a drug transaction on June 15, 2012. (Id. at 11.) The vehicle was seized by

federal agents at the time of Defendant’s arrest. (See doc. 135 at 2.) Defendant was later charged

by indictment with the same offense listed in the complaint. (See doc. 93.) The indictment

contained a forfeiture count stating that the Government would seek to forfeit any property that

constituted or was derived from the proceeds of the conspiracy or was used to commit or facilitate

the conspiracy. (Id.. at 4.)

       On December 28, 2013, the parties filed a Plea Agreement in which Defendant agreed to

plead guilty to the drug conspiracy alleged in the indictment, and to not contest, challenge or appeal

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the forfeiture of the property listed in the forfeiture count. (See doc. 106 at 1, 4.) They also filed

a Factual Resume in which Defendant stipulated to his involvement in the conspiracy by providing

counter-surveillance and security for co-conspirators. (See doc. 105 at 2.) He expressly stipulated

that he “drove up and parked his vehicle directly in front of the UCE’s car and provided counter-

surveillance and security” during the June 15, 2012 drug transaction alleged in the criminal

complaint. (Id.) On December 28, 2012, the Government also filed Government’s Bill of

Particulars Concerning Criminal Forfeiture identifying the specific property that it would seek to

forfeit under the forfeiture count in the indictment. (See doc. 108.) The listed property included the

Vehicle. (Id. at 2.) Defendant entered his plea of guilty in open court on January 10, 2013. (See

doc. 120.)

       On January 15, 2013, Rosalio Gamez (Gamez), a non-party to the prosecution, filed a

motion for return of the Vehicle. (See doc. 117.) He contends that he is its owner and that it was

his sole means of transportation, and he attaches a Certificate of Title showing him to be the owner

of the Vehicle. (Id. at 3.)

                                          II. ANALYSIS

       “The criminal forfeiture statute[, 21 U.S.C. § 853,] is designed to balance the

Government’s interest in efficient and orderly prosecution with the rights of defendants and third

parties who claim an interest in forfeitable property.” U.S. v. Holy Land Foundation for Relief

and Development, et al., 493 F.3d 469, 477 (5th Cir. 2007) (en banc). In order to achieve this

balance, § 853(k) bars intervention by third parties claiming an interest in property subject to

forfeiture in a criminal proceeding:

       Except as provided in subsection (n) of this section, no party claiming an interest in
       property subject to forfeiture under this section may—

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               (1) intervene in a trial or appeal of a criminal case involving the forfeiture of such
               property under this section; or

               (2) commence an action at law or equity against the United States concerning the
               validity of his alleged interest in the property subsequent to the filing of an
               indictment or information alleging that the property is subject to forfeiture under
               this section.

21 U.S.C. § 853(k). Section 853 (n) sets forth the process by which parties other than the

defendant may assert an interest in forfeitable property after an order of forfeiture has been

entered. See 21 U.S.C. § 853(n). A final order of forfeiture is entered by a court when imposing

sentence on a defendant who has been convicted. See 21 U.S.C. § 853(a). Section (n) “makes

plain” that third parties may assert their interests in forfeitable property “only after the

termination of the pending criminal case.” Holy Land Foundation, 493 F.3d at 477 (emphasis

original).

       Here, the pending criminal case has not yet terminated, and no order of forfeiture has yet

been entered against Defendant. Accordingly, Gamez, a non-party, may not intercede in this

pending prosecution at this time to assert his interest in the Vehicle.

                                    III. RECOMMENDATION

       Gamez’s motion should be DENIED.

       SO RECOMMENDED on this 16th day of April, 2013.



                                                        ___________________________________
                                                        IRMA CARRILLO RAMIREZ
                                                        UNITED STATES MAGISTRATE JUDGE




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                           INSTRUCTIONS FOR SERVICE AND
                         NOTICE OF RIGHT TO APPEAL/OBJECT

        A copy of these findings, conclusions, and recommendation shall be served on all parties in
the manner provided by law. Any party who objects to any part of these findings, conclusions and
recommendation must file specific written objections within 14 days after being served with a copy.
See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b). In order to be specific, an objection must identify
the specific finding or recommendation to which objection is made, state the basis for the objection,
and specify the place in the magistrate judge’s findings, conclusions and recommendation where the
disputed determination is found. An objection that merely incorporates by reference or refers to the
briefing before the magistrate judge is not specific. Failure to file specific written objections will
bar the aggrieved party from appealing the factual findings and legal conclusions of the magistrate
judge that are accepted or adopted by the district court, except upon grounds of plain error. See
Douglass v. United Servs. Automobile Ass’n, 79 F.3d 1415, 1417 (5th Cir. 1996).



                                                       ___________________________________
                                                       IRMA CARRILLO RAMIREZ
                                                       UNITED STATES MAGISTRATE JUDGE




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